              IN THE UNITED STATES DISTRICT COURT FOR THE
                   MIDDLE DISTRICT OF NORTH CAROLINA


 United States of America,
                                                    No. 12-cv-1349
                        Plaintiff;
         v.                                         UNITED STATES’ REPLY IN
                                                    SUPPORT OF ITS MOTION TO SEAL
 Terry Johnson, in his official capacity as
 Alamance County Sheriff,
                        Defendant.



      UNITED STATES’ REPLY IN SUPPORT OF ITS MOTION TO SEAL

       The United States properly filed under seal two exhibits supporting a discovery

motion – precisely the type of sealed filing contemplated by the Joint Confidentiality and

Protective Order, ECF No. 18 (“Joint Confidentiality Order”). The parties agreed to the

Joint Confidentiality Order to protect the identities of non-party witnesses during

discovery and shield them from reprisal. Sealing exhibits attached to discovery motions

does not diminish the public’s access to evidence supporting the substantive claims in

this litigation, as the United States intends to publicly file all evidence supporting any

dispositive motions and has no objection to an open courtroom during trial. But there is

no public right to access exhibits attached to discovery motions, see, e.g, Chicago

Tribune Co., et al. v. Bridgestone / Firestone, Inc., 263 F.3d 1304, 1312-15 (11th Cir.

2001), and the exhibits Defendant seeks to unseal were filed pursuant to the lawful Joint

Confidentiality Order. The interests animating that Order apply with particular force


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      Case 1:12-cv-01349-TDS-JLW Document 64 Filed 10/25/13 Page 1 of 8
here, where numerous individuals have told the United States that they fear retaliation for

providing information critical of the Defendant. Accordingly, the United States

respectfully asks the Court to grant its Motion to Seal, ECF No. 49.

                                        ANALYSIS

       The United States’ decision to file under seal certain exhibits to a discovery

motion conforms to the Joint Confidentiality Order issued by the Court and protects non-

party witnesses from possible reprisal. These protections are paramount here, where

witnesses have repeatedly informed the United States that they fear retaliation for

providing information critical of Sheriff Johnson. See, e.g., Reply in Support of Mot. for

Reconsideration, ECF No. 50 (“Reply”), at 2, 9-10. To protect such individuals, the

parties filed a Joint Motion for a Protective Order, ECF No. 17, which the Court entered

on April 23, 2013. ECF No. 18. Both the United States and the Defendant have filed

sealed exhibits to discovery motions during this litigation. See, e.g., Def’s Opp. to Mot

for Reconsideration, ECF No. 38; U.S. Mot. for Reconsideration, ECF No 36. Consistent

with this practice and the Joint Confidentiality Order, the United States moved to file

under seal certain exhibits attached to its Reply.

       Defendant now objects to sealing two of these exhibits: (1) an excerpt from the

deposition of [REDACTED], who testified that she moved out of Alamance County

because of threats and harassment; and (2) a threatening card sent to a former detention

officer shortly after the officer was identified as a witness in this case. See Opp. to Mot.

to Seal, (“Opp.”) ECF No. 53, at 6. The sole basis for Defendant’s opposition to sealing

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      Case 1:12-cv-01349-TDS-JLW Document 64 Filed 10/25/13 Page 2 of 8
the exhibits is that the United States made “statements about the sealed documents in its

filing,” which “have been reported by the press, and have left a very negative impression

of Alamance County’s public figures.” Opp. at 4. The Opposition concludes that the

exhibits should thus be un-sealed to allow the public “to make its own determination”

about their meaning. Id. at 5.

       This argument lacks any legal foundation. Indeed, the principle case cited by

Defendants makes clear that the public right of access attaches only to “judicial records,”

which are “documents filed with the court [that] play a role in the adjudicative process, or

adjudicate substantive rights.” Allergan, Inc. v. Apotex Inc., 2013 WL 1750757, at *5

(M.D.N.C. April 23, 2013) (quotation marks and citation omitted). Documents attached

to discovery motions, including the United States’ Reply in Support of its Motion for

Reconsideration, do not trigger a public access right. See Chicago Tribune Co., 263 F.3d

at 1312-15 (“Press’s common-law right of access does not extend to the sealed materials

submitted in connection with motions to compel discovery”); Anderson, et al. v. Cryovac,

Inc., et al., 805 F.2d 1, 11-12 (1st Cir. 1986) (“We . . . hold that there is no right of public

access to documents considered in civil discovery motions. . . [because] discovery

proceedings are fundamentally different from proceedings to which the courts have

recognized a public right of access.”).

       Because no public right of access attaches to the exhibits supporting the United

States’ discovery motion, filing them under seal is appropriate under the Joint

Confidentiality Order. The Court entered the Joint Confidentiality Order for good cause

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      Case 1:12-cv-01349-TDS-JLW Document 64 Filed 10/25/13 Page 3 of 8
in response to the Parties’ joint motion seeking to protect the identities of civilian

victims, witnesses and employees of the Alamance County Sherriff’s Office (“ACSO”) –

none of whom is a party to this action. See, e.g., Haber v. Evans, 268 F. Supp. 2d 507,

512 (E.D. Pa. 2003) (finding good cause for issuance of protective order protecting

victims, witnesses, and confidential informants in civil rights case against law

enforcement officials, and noting that “the alleged victims are not responsible for the

public attention that the case has received”). The interest in maintaining the privacy and

confidentiality of non-party witnesses is particularly acute here, where witnesses have

expressed fears that Defendant will retaliate against them.

       Further, sealing exhibits attached to discovery motions does not diminish the

public’s access to evidence supporting the substantive claims in this litigation. When

dispositive motions are filed or during trial in this case – i.e., when substantive rights are

actually being adjudicated – all evidence that the United States relies upon will be fully

available to the public “to make its own determination.” See Chicago Tribune Co., 263

F.3d at 1212-15; Anderson, 805 F.2d at 11-12. Indeed, the United States strongly

supports the public accountability required of both parties by an open trial in this matter.

       Defendant attempts to show that sealing Exhibits A and B to the United States’

Reply is unnecessary by disputing the validity of the intimidation claims made by the two

witnesses referenced in those documents. These objections miss the point. The United

States filed the exhibits pursuant to a lawful confidentiality order agreed upon by the

parties and entered by the Court for good cause to protect the identity of non-party

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      Case 1:12-cv-01349-TDS-JLW Document 64 Filed 10/25/13 Page 4 of 8
witnesses. No public access right pierces the Order to reach exhibits supporting non-

dispositive discovery motions. Accordingly, sealing the exhibits is proper. 1

       Regardless, Defendant’s attempt to dismiss the intimidation faced by these

witnesses is unconvincing. Defendant contends that “there is no merit” to

[REDACTED]’s claim that ACSO intimidated her by stationing a patrol car outside her

residence because “a deputy lived in the neighborhood and took home his patrol car.”

Opp. at 5. But [REDACTED] knew this deputy lived near her. See Declaration of

[REDACTED], attached as Exhibit A (“[REDACTED] Decl.”), at ¶8. She felt

intimidated by a different ACSO patrol car that was stationed outside of her home – with

a deputy inside the car. Id. at ¶¶7-10. Similarly unavailing is Alamance County Attorney

Clyde Albright’s contention that he did not realize that [REDACTED] was the mother of

the 19-year-old female college student whose personal computer records the County

Attorney demanded. Mr. Albright asserts that he sought records of University of North

Carolina professor Hannah Gill and “her assistant.” Albright Declaration, ECF No. 53-1,

at 3. But [REDACTED]’s daughter never worked for Professor Gill in any capacity,

[REDACTED] Decl. at ¶14, and multiple newspaper articles around the time of Mr.

Albright’s demand identified REDACTED as the mother of the targeted teenager. See

Exhibit B.



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  Moreover, the threatening card sent to a former officer is evidence in an ongoing FBI
investigation. Even if a public access right attached to this exhibit, the compelling
interest in protecting active law enforcement operations would preclude its disclosure.
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      Case 1:12-cv-01349-TDS-JLW Document 64 Filed 10/25/13 Page 5 of 8
       Finally, Mr. Albright’s assertion that he could not have mailed a threatening card

to former ACSO officer [REDACTED] because he does “not know how to reach” the

officer is irrelevant. Albright Decl. at 2. The United States has never made any

representations about who authored the threat. Rather, the United States explained that

the officer received the threat “one week after he was identified as a witness in this case.”

Reply at 2.

       Ultimately, the validity of the intimidation claims is beside the point, but

Defendant fails to cast any doubt on these allegations.

                                         CONCLUSION

       For the foregoing reasons, the United States respectfully asks the Court to grant

its Motion to Seal.



       Respectfully submitted,



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                                              6



      Case 1:12-cv-01349-TDS-JLW Document 64 Filed 10/25/13 Page 6 of 8
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                                  7



Case 1:12-cv-01349-TDS-JLW Document 64 Filed 10/25/13 Page 7 of 8
                            CERTIFICATE OF SERVICE

       I certify that the foregoing United States’ Reply in Support of Its Motion to Seal
was served through the electronic filing service on October 25, 2013, which will provide
notice to all registered parties.



                                                s/ Michael J. Songer
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                                            8



      Case 1:12-cv-01349-TDS-JLW Document 64 Filed 10/25/13 Page 8 of 8
